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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: October 13, 2020


Mr. Matthew Daniel Cloutier

Ms. Molly Danahy

Mr. William L. Harbison

Ms. Janet M. Kleinfelter


Mr. Ezra D. Rosenberg

                     Re: Case No. 20-6141, Memphis A.PhillipRandolphInst, et al v. Tre Hargett, et al
                         Originating Case No. : 3:20-cv-00374

Dear Counsel:

   The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/Amy E. Gigliotti for Robin L. Baker,
                                                  Case Management Specialist
                                                  Direct Dial No. 513-564-7012

cc: Mr. Kirk L. Davies

Enclosure




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               Case: 20-6141       Document: 8-2       Filed: 10/13/2020   Page: 1               (2 of 2)




                                         Case No. 20-6141

                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                              ORDER

MEMPHIS A. PHILLIP RANDOLPH INSTITUTE; THE EQUITY ALLIANCE; FREE
HEARTS; MEMPHIS AND WEST TENNESSEE AFL-CIO CENTRAL LABOR COUNCIL;
THE TENNESSEE STATE CONFERENCE OF THE NAACP; SEKOU FRANKLIN

               Plaintiffs - Appellees

and

KENDRA LEE

               Plaintiff

v.

TRE HARGETT, in his official capacity as Secretary of State of the State of Tennessee; MARK
GOINS, in his official capacity as Coordinator of Elections for the State of Tennessee; AMY P.
WEIRICH, in her official capacity as District Attorney General for Shelby County, Tennessee

               Defendants - Appellants



     Appellants have filed a motion to expedite the briefing schedule.

     Upon consideration, the motion is GRANTED. An expedited briefing schedule will issue by

separate letter.




                                                  ENTERED BY ORDER OF THE COURT
                                                  Deborah S. Hunt, Clerk


Issued: October 13, 2020
                                                  ___________________________________




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